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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



 UNITED STATES OF AMERICA,                    )    CASE NO. 1:03CR486
                                              )
        Plaintiff,                            )
                                              )
 vs.                                          )    Judge Peter C. Economus
                                              )
 RALPH JONES,                                 )
                                              )
        Defendant.                            )    ORDER



        On October 7, 2004, the Defendant, Ralph Jones, was sentenced to fifty-one (51)

 months imprisonment, followed by four (4) years of supervised release, for conspiracy

 possess with intent to distribute and distribution of cocaine base, a Class B felony. His

 supervised release commenced on March 6, 2008.

        On or about January 15, 2008, the Defendant’s probation officer submitted a violation

 report alleging the following violations of the terms of supervised release:

        (1) Illegal Drug Use.

        (2) Failure to pay fine.

        (3) Failure to follow instructions of the Probation Officer.

        (4) Failure to obtain employment.

        (5) Failure to commence placement at Oriana House.
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        The matter was referred to Magistrate Judge George J. Limbert to conduct the

 appropriate proceedings, except for sentencing, and to prepare a report and recommendation.

 The Defendant appeared before the Magistrate for an initial appearance on February 24,

 2010, and was represented by counsel Damian Billak. At the hearing, the Defendant

 admitted to violations one through five.           The Magistrate has issued a report and

 recommendation, recommending that the Court find that the Defendant has violated the terms

 of his supervised release. (Dkt. # 619).

        The Court has reviewed the Magistrate’s report and recommendation and finds that

 it is well-supported. The Defendant has admitted violations one through five of the probation

 officer’s violation report. As a result, the Court finds that the Defendant has violated the

 terms of his supervised release. Because violation number two involves drug possession,

 pursuant to 18 U.S.C. § 3583(g)(1), the Court must revoke the term of supervised release and

 require the defendant to serve a term of imprisonment, subject to the exception listed in 18

 U.S.C. § 3583(d). Subsection (d), provides that “the court shall consider whether the

 availability of appropriate substance abuse treatment programs, or an individual’s current or

 past participation in such programs, warrants an exception.”

        The Court has considered the statutory maximum sentence of three years pursuant to

 18 U.S.C. § 3583(e)(3). The Court has also considered the advisory policy statements set

 forth in Chapter Seven of the United States Sentencing Guidelines prior to imposing

 sentence. The guideline range is 6 to 12 months pursuant to U.S.S.G. § 7B1.4(a).

 Furthermore, the Court has considered the factors for sentencing listed in 18 U.S.C. §

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 3553(a) and 3583(d).

        The Court hereby ADOPTS the Magistrate’s Report and Recommendation. (Dkt. #

 619). Based on this Court’s review of all relevant factors, the Court hereby orders that the

 Defendant’s supervised release is REVOKED, and the Defendant is sentenced to seven (7)

 months imprisonment. Furthermore, the Defendant’s remaining term of supervised release

 is hereby terminated.

        IT IS SO ORDERED.



 Issued: March 1, 2010                     s/ Peter C. Economus
                                           PETER C. ECONOMUS
                                           UNITED STATES DISTRICT JUDGE




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